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                       UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

    BEVERLY MICHELLE MOORE,                   )
                                              )
          Petitioner,                         )
                                              )
    v.                                        )      Case No. CIV-09-985-G
                                              )
    TAMIKA WHITE, Warden,                     )
                                              )
          Respondent.1                        )

                                          ORDER

         Petitioner Beverly Michelle Moore, a state prisoner appearing through counsel, filed

this action seeking federal habeas corpus relief pursuant to 28 U.S.C. § 2254. Following

extensive proceedings, including a stay pending primary determination by the state courts

of issues raised herein by Petitioner, the controlling pleading—Petitioner’s Second

Amended Petition—was filed. See Second Am. Pet. (Doc. No. 226); Pet’r’s Br. (Doc. No.

227). Respondent, Warden Tamika White, filed an Answer (Doc. No. 250), and Petitioner

filed a Reply (Doc. No. 254).

         In accordance with 28 U.S.C. § 636(b)(1), the matter was referred to Magistrate

Judge Gary M. Purcell for initial findings and recommendations. Judge Purcell issued a

Supplemental Report and Recommendation (“Suppl. R. & R.,” Doc. No. 261), in which he

recommended that Petitioner’s request for habeas relief be conditionally granted.

Respondent filed an Objection (Doc. No. 264), to which Petitioner has responded (Doc.


1
 The current warden of the facility where Petitioner is incarcerated is hereby substituted
as Respondent. See R. 2(a), R. Governing § 2254 Cases in U.S. Dist. Cts.; Fed. R. Civ. P.
25(d), 81(a)(4).
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No. 267). Having conducted the requisite de novo review of the Supplemental R. & R.,

the Court finds and concludes as follows.

                                    PROCEDURAL HISTORY

         Petitioner’s state- and federal-court proceedings have followed a circuitous path.

See Mem. Op. & Order of Nov. 5, 2014 (Cauthron, J.) at 1-4 (Doc. No. 208); R. & R. of

Dec. 12, 2019 (Purcell, Mag. J.) at 4-15 (Doc. No. 244). The Court will discuss that

background herein only as necessary to evaluate the currently pending Second Amended

Petition.

         In September of 2005, following a jury trial in the District Court of Oklahoma

County, Oklahoma, Petitioner was convicted of murder in the first degree of her

boyfriend’s 22-month-old son, A.S., by use of unreasonable force.              Petitioner was

sentenced to life imprisonment without the possibility of parole. See State v. Moore, No.

CF-2004-351 (Okla. Cnty. Dist. Ct.).2 Petitioner appealed to the Oklahoma Court of

Criminal Appeals (“OCCA”), which affirmed the conviction but modified her sentence to

life imprisonment with the possibility of parole. See Moore v. State, No. F-2006-63 (Okla.

Crim. App.).

         In September of 2008, Petitioner filed a pro se application for postconviction relief.

The state trial court denied the application, and the OCCA dismissed Petitioner’s appeal of

that disposition for lack of jurisdiction. See Second Am. Pet. (Doc. No. 226) at 2-4.




2
    The state-court dockets cited herein are publicly available through http://www.oscn.net.


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       Petitioner filed the instant habeas action on September 4, 2009. An attorney was

appointed to represent Petitioner in July of 2010. Respondent challenged the timeliness of

Petitioner’s habeas application. The Court held that Petitioner was entitled to review of

the merits of her constitutional claims because she “had made a . . . showing of the

probability of actual innocence sufficient to permit her case to overcome the limitations

bar.” Order of Oct. 28, 2011 (Cauthron, J.) at 2-4 (Doc. No. 139) (adopting Proposed

Findings of Fact and Conclusions of Law of Sept. 7, 2011 (“Proposed FFCL,” Bacharach,

Mag. J.) (Doc. No. 135)). See generally Schlup v. Delo, 513 U.S. 298, 313-29 (1995).

       Respondent further argued that Petitioner had failed to exhaust available state-court

remedies as required by 28 U.S.C. § 2254(b). See Limited Answer (Doc. No. 159) at 1-14.

The Court determined that in light of various factors, including “the substantial newfound

evidence developed in federal court regarding the Petitioner’s actual innocence,” “the state

courts should be given an opportunity to address this matter in the first instance.” Order

of Apr. 6, 2012 (Cauthron, J.) at 2 (Doc. No. 182). The Court therefore stayed proceedings

in this matter pending Petitioner’s exhaustion of her claims in the state courts. See id. at 3.

       On June 5, 2012, Petitioner filed a second application for postconviction relief in

the state trial court. See Pet’r’s Notice (Doc. No. 195) at 1. The application raised six

propositions of error: (1) ineffective assistance of trial counsel for (a) failure to fully

investigate the cause of death of A.S. and the timing of injuries to A.S. alleged to have been

caused by Petitioner, and (b) failure to present testimony from expert witnesses as to the

cause and timing of the fatal injuries; (2) ineffective assistance of trial counsel due to trial

counsel suffering from conflicts of interest; (3) deprivation of due process due to the State’s


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failure to disclose exculpatory evidence; (4) ineffective assistance of appellate counsel due

to failure to argue ineffective assistance of trial counsel as to the lack of investigation of

medical issues and lack of presentation of medical testimony; (5) ineffective assistance of

appellate counsel arising from the failure to uncover the conflicts of interest of trial counsel

and raise a corresponding claim of ineffective assistance of trial counsel; and (6) ineffective

assistance of appellate counsel due to failure to uncover and seek relief on the State’s

violation of Brady v. Maryland, 373 U.S. 83 (1963).               See Pet’r’s Second Appl.

Postconviction Relief (Doc. No. 234-7) at 2-8.

       The trial court rejected the State’s assertion of procedural bar, and, by agreement of

the parties, bifurcated its determination of Petitioner’s postconviction claims into two parts.

The trial court would first consider whether defense counsel rendered deficient

performance or labored under a conflict of interest. If the trial court found that defense

counsel’s performance was deficient or subject to a conflict of interest, the trial court would

then separately consider whether that performance had resulted in prejudice to Petitioner,

as well as Petitioner’s Brady claim and ineffective assistance of appellate counsel claims.

See J. Statement of Proc. Hist. (Doc. No. 234-9) at 8.

       Regarding the first determination, the trial court conducted an evidentiary hearing

on various dates between December 2014 and August 2015. See id. at 9. The state-court

docket reflects that the complete hearing transcript was filed in August 2016, and each

party submitted proposed findings of fact and conclusions of law to the trial court on

January 17, 2017. See State v. Moore, No. CF-2004-351 (Okla. Cnty. Dist. Ct.).




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         On March 23, 2018, Petitioner filed a Motion to Lift Stay (Doc. No. 213) in this

Court, arguing that the exhaustion requirement should be excused and that federal habeas

proceedings should resume due to both exceptional circumstances and the “ongoing and

lengthy delays in state court proceedings.” Id. at 6. Four days later, the state trial court

issued an order denying relief on Petitioner’s Second Application for Postconviction

Relief. See Trial Ct. Order of Mar. 27, 2018 (Doc. No. 227-2). Petitioner appealed the

denial to the OCCA. The appellate court did not address the merits of Petitioner’s claims

but affirmed on the basis that Petitioner’s claims were procedurally barred. See OCCA

Order of Oct. 12, 2018 (Doc. No. 227-1), Moore v. State, No. PC-2018-403 (Okla. Crim.

App.).

         This Court then lifted the stay that had been imposed in this matter and permitted

Petitioner to file an amended pleading. On April 19, 2019, Petitioner filed the verified

Second Amended Petition. Petitioner presents six grounds for relief, urging the same

propositions of error as were argued to the state courts in her Second Application for

Postconviction Relief. See Second Am. Pet. at 7-14. In Ground One, Petitioner argues that

she was deprived of her Sixth Amendment right to effective assistance of trial counsel

based upon counsel’s: “a) failure to fully investigate the cause of death and the timing of

injuries attribute[d] to Petitioner, including the failure to timely consult with and retain

expert witnesses, and b) failure to present testimony from the expert witnesses as to the

cause and timing of the fatal injuries.” Id. at 7. According to Petitioner, “Trial Counsel

was aware that there were reasons to question the cause and timing of the child’s death but

failed to reasonably investigate those issues, failed to timely consult with and retain


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appropriate experts[,] and failed to present expert testimony at trial, which resulted in

Petitioner’s conviction.” Id.; see also Pet’r’s Br. at 55-72.

       Respondent initially responded to the Second Amended Petition by asserting that

Petitioner’s claims were unexhausted, untimely, or procedurally barred. See Initial Answer

(Doc. No. 234) at 39-117; 28 U.S.C. §§ 2244(d), 2254(b). Rejecting these arguments,

Judge Purcell recommended that Petitioner’s claims be permitted to proceed on their merits

due to Petitioner having made a sufficient showing of actual innocence. See R. & R. of

Dec. 12, 2019, at 9-10, 16-21. Neither party objected to this aspect of the R. & R., which

was accepted and adopted by the undersigned. See Order of May 14, 2020 (Goodwin, J.)

at 2-3 (Doc. No. 248); see also id. at 3 n.2.

       Judge Purcell also recommended, and the Court agreed, that Respondent be

permitted to file an answer addressing the merits of the federal habeas claims presented in

the Second Amended Petition. See id. at 5. Respondent then filed an Answer (Doc. No.

250), and Petitioner filed a Reply (Doc. No. 254). Upon due consideration, Judge Purcell

issued the Supplemental R. & R. (Doc. No. 261) now under review. In his 90-page

Supplemental R. & R., Judge Purcell provided background information and procedural

history for the matter. See id. at 1-18. Judge Purcell then addressed Ground One of the

Second Amended Petition in detail, ultimately finding that Petitioner had shown a

deprivation of her right to effective assistance of trial counsel and recommending that the

petition be granted on that basis. See id. at 18-90.




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                                          DISCUSSION

         A state prisoner may seek federal habeas relief “on the ground that [she] is in

custody in violation of the Constitution or laws or treaties of the United States.” 28 U.S.C.

§ 2254(a). A petitioner who otherwise establishes a right to habeas relief must also show

that “law and justice require” such relief from the federal court. 28 U.S.C. § 2243; see

Brown v. Davenport, 142 S. Ct. 1510, 1524 (2022). Here, Petitioner contends—and Judge

Purcell in the Supplemental R. & R. found—that the attorneys representing Petitioner in

the state-court trial that resulted in her conviction did not provide her the effective

assistance of counsel guaranteed by the Sixth Amendment (the “IATC claim” or “Ground

One”).

         The Sixth Amendment prescribes: “In all criminal prosecutions, the accused shall

enjoy the right . . . to have the Assistance of Counsel for his defence.” U.S. Const. amend.

VI. “The right to counsel is a fundamental right of criminal defendants; it assures the

fairness, and thus the legitimacy, of our adversary process.” Kimmelman v. Morrison, 477

U.S. 365, 374 (1986).

         Without counsel the right to a fair trial itself would be of little consequence,
         for it is through counsel that the accused secures his other rights. The
         constitutional guarantee of counsel, however, cannot be satisfied by mere
         formal appointment. An accused is entitled to be assisted by an attorney,
         whether retained or appointed, who plays the role necessary to ensure that
         the trial is fair. In other words, the right to counsel is the right to effective
         assistance of counsel.

Id. at 377 (citations and internal quotation marks omitted); accord Smith v. Mullin, 379

F.3d 919, 929 (10th Cir. 2004).




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       The Tenth Circuit has instructed that “[t]he gravity of a claim of ineffective

assistance of counsel cannot be overstated.” Smith, 379 F.3d at 929. The purpose of the

Sixth Amendment’s requirement of effective assistance is “to ensure a fair trial.”

Strickland v. Washington, 466 U.S. 668, 686 (1984). “The essence of an ineffective-

assistance claim is that counsel’s unprofessional errors so upset the adversarial balance

between defense and prosecution that the trial was rendered unfair and the verdict rendered

suspect.”   Kimmelman, 477 U.S. at 374; accord Strickland, 466 U.S. at 686 (“The

benchmark for judging any claim of ineffectiveness must be whether counsel’s conduct so

undermined the proper functioning of the adversarial process that the trial cannot be relied

on as having produced a just result.”).

       Pursuant to governing authority, the Court determines de novo any part of the

proposed findings and recommended disposition to which proper objection has been made.

See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(3). “[A] party’s objections to the

magistrate judge’s report and recommendation must be both timely and specific to preserve

an issue for de novo review by the district court or for appellate review.” United States v.

2121 E. 30th St., 73 F.3d 1057, 1060 (10th Cir. 1996). The Court “may accept, reject, or

modify, in whole or in part, the findings or recommendations made by the magistrate

judge.” 28 U.S.C. § 636(b)(1). The Court “may also receive further evidence or recommit

the matter to the magistrate judge with instructions.” Id.

       Having conducted a de novo review of the objections made by Respondent to the

Supplemental R. & R., and applying the standards and limitations set forth in the

Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”), the Court modifies


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the findings and conclusions recommended by Judge Purcell to the limited extent set forth

below and agrees that the Second Amended Petition should be conditionally granted.

    I.    Relevant Limitations and Standards for Federal Court Review Under AEDPA

         A. AEDPA’s Exhaustion and Timeliness Requirements

         “As amended by AEDPA, 28 U.S.C. § 2254 sets several limits on the power of a

federal court to grant an application for a writ of habeas corpus on behalf of a state

prisoner.” Cullen v. Pinholster, 563 U.S. 170, 181 (2011). “Sections 2254(b) and (c)

provide that a federal court may not grant such applications unless, with certain exceptions,

the applicant has exhausted state remedies.” Id. And 28 U.S.C. § 2244(d) imposes a one-

year statute of limitations on petitions for federal habeas relief by state prisoners. See 28

U.S.C. § 2244(d)(1).

         As noted, this Court already has found that Petitioner is entitled to review of the

merits of her constitutional claims because she “ha[s] made a . . . showing of the probability

of actual innocence sufficient to permit her case to overcome the limitations bar.” Order

of Oct. 28, 2011, at 2; accord Order of May 14, 2020, at 2-3, 3 n.2; see Schlup, 513 U.S.

at 313-29; McQuiggin v. Perkins, 569 U.S. 383, 386 (2013) (“[A]ctual innocence, if

proved, serves as a gateway through which a petitioner may pass whether the impediment

is a procedural bar . . . or . . . expiration of the statute of limitations.”). Accordingly, the

Court’s review is not proscribed by application of § 2254(b) and (c) or § 2244(d).3


3
 Respondent’s Objection challenges the Court’s prior finding “for appellate purposes.”
Resp’t’s Obj. (Doc. No. 264) at 104-06. Petitioner responds that “Respondent has waived
any argument as to the finding of actual innocence for appellate purposes.” Pet’r’s Resp.
(Doc. No. 267) at 31-34. This Court need not and does not address this waiver issue.


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       B. The Inapplicability of 28 U.S.C. § 2254(d)

       Pursuant to 28 U.S.C. § 2254(d), the “additional restriction” of a “highly deferential

standard” applies if a habeas corpus petition “includes a claim that has been ‘adjudicated

on the merits in State court proceedings.’” Cullen, 563 U.S. at 181 (quoting 28 U.S.C. §

2254(d)). In determining whether there has been such an adjudication, the federal court

should look to “the last related state-court decision that . . . provide[s] a relevant rationale”

for that court’s disposition of the claim. Wilson v. Sellers, 138 S. Ct. 1188, 1192-94 (2018)

(citing Ylst v. Nunnemaker, 501 U.S. 797, 803 (1991)); accord Hawes v. Pacheco, 7 F.4th

1252, 1261 n.6 (10th Cir. 2021) (explaining that the habeas court looks to the “last reasoned

opinion” of the state court on the petitioner’s federal claims (internal quotation marks

omitted)).

       As noted above, although the state trial court issued findings and conclusions in

denying the Second Application for Postconviction Relief, the OCCA did not reach the

merits of Petitioner’s claims on appeal, instead expressly rejecting the application on

procedural grounds. See OCCA Order of Oct. 12, 2018, at 9 (“Petitioner’s propositions of

error . . . are thus barred or waived.”). In their pleadings, the parties agreed that this

disposition, the “last reasoned opinion” of the state courts, does not implicate review under

§ 2254(d). See Pet’r’s Br. at 34-35; Answer at 36, 38, 54. Judge Purcell found likewise,

explaining that because the claims were not “adjudicated on the merits,” but instead

resolved by the OCCA on procedural grounds, “§ 2254(d)’s deference does not apply.” 28

U.S.C. § 2254(d); Suppl. R. & R. at 19.




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       Neither party now argues otherwise, and the Court concurs with the Supplemental

R. & R. on this point. The OCCA’s affirmance of the trial court’s decision “on alternative

procedural grounds” was the “last reasoned decision” but was “not . . . a decision resulting

from [a] merits adjudication.” Greene v. Fisher, 565 U.S. 34, 40 (2011) (emphasis

omitted); Ylst, 501 U.S. at 804; see also Johnson v. Williams, 568 U.S. 289, 302 (2013);

Williams v. Alabama, 791 F.3d 1267, 1271-72, 1273-76 (11th Cir. 2015). Because the

OCCA did not reach the merits of Petitioner’s Second Application for Postconviction

Relief, there is no state-court decision to defer to when considering the merits of

Petitioner’s federal claims.

       C. The Presumption of Correctness Under 28 U.S.C. § 2254(e)(1)

       The lack of a state-court § 2254(d) merits adjudication is not by itself determinative

of the federal habeas court’s application of § 2254(e)(1), which provides:

       In a proceeding instituted by an application for a writ of habeas corpus by a
       person in custody pursuant to the judgment of a State court, a determination
       of a factual issue made by a State court shall be presumed to be correct. The
       applicant shall have the burden of rebutting the presumption of correctness
       by clear and convincing evidence.

28 U.S.C. § 2254(e)(1).

       “Clear and convincing” is “an intermediate standard of proof,” Santosky v.
       Kramer, 455 U.S. 745, 756 (1982), satisfied by evidence that would “place
       in the ultimate factfinder an abiding conviction that the truth of its factual
       contentions [is] ‘highly probable,’” Colorado v. New Mexico, 467 U.S. 310,
       316 (1984) (quoting C. McCormick, Law of Evidence § 320, p. 679 (1954)).

Fontenot v. Crow, 4 F.4th 982, 1018 (10th Cir. 2021) (parallel citations omitted).

       Before the magistrate judge, the parties disagreed as to whether § 2254(e)(1)’s

presumption of correctness should be applied to the factual findings made by the state trial


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court in denying the Second Application for Postconviction Relief. Compare Pet’r’s Br.

at 40, and Pet’r’s Reply at 7-16, with Answer at 18, 37-38, 52-62. Judge Purcell found that

there was a lack of authority directly on point but nevertheless assumed that the

presumption would apply and proceeded to consider Petitioner’s Ground One subject to

that express assumption. See Suppl. R. & R. at 19-21.

       Petitioner did not file a written objection to the Supplemental R. & R. Thus,

although she continues to contend that the statutory presumption should not apply, see

Pet’r’s Resp. at 10, she has not presented an actionable challenge to Judge Purcell’s

approach. For her part, Respondent faults the manner in which the magistrate judge applied

the § 2254(e)(1) presumption of correctness, but she likewise does not object to the

underlying application of that presumption to the state trial court’s factual determinations.

See Resp’t’s Obj. at 14-15, 31.4

       Accordingly, the undersigned accepts that the state trial court’s “findings of fact that

bear upon [Ground One] are entitled to a presumption of correctness rebuttable only by

clear and convincing evidence” under 28 U.S.C. § 2254(e)(1). Grant, 886 F.3d at 889

(internal quotation marks omitted).




4
 Judge Purcell’s approach appears consistent with both the statutory language and relevant
authority. See 28 U.S.C. § 2254(e)(1) (prescribing that a state-court factual determination
“shall be presumed to be correct” (emphasis added)); see, e.g., Fontenot, 4 F.4th at 1061
(“Even when reviewing a habeas claim de novo rather than under § 2254(d), state-court
factfinding still receives the benefit of doubt under § 2254(e)(1) . . . .”); Grant v. Royal,
886 F.3d 874, 889 (10th Cir. 2018) (explaining that the presumption applies “even in the
setting where we lack a state court merits determination”).


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       D. Summary of Petitioner’s Burden

       In sum, because the Court is not bound by 28 U.S.C. § 2254(d) deference, it reviews

Petitioner’s Ground One de novo. See Fontenot, 4 F.4th at 1061; Hooks v. Workman, 689

F.3d 1148, 1194 (10th Cir. 2012). Petitioner “bear[s] the burden of showing a right to

habeas relief based on a preponderance of the evidence.” Menzies v. Powell, 52 F.4th 1178,

1210 (10th Cir. 2022), petition for cert. filed, No. 22-7482 (U.S. May 8, 2023). That is,

Petitioner must show by a preponderance of the evidence that her representation at trial

was constitutionally ineffective. See id. “A preponderance of the evidence is evidence

sufficient to persuade the court that a fact is more likely present than not present.” United

States v. King, No. CR-13-63-F, 2014 WL 12623415, at *6 (W.D. Okla. Dec. 1, 2014);

accord Kyles v. Whitley, 514 U.S. 419, 434 (1995).

       Further, because 28 U.S.C. § 2254(e)(1) is assumed to apply, the Court in

conducting its de novo review of Ground One extends to all material state-court factual

findings the presumption of correctness directed by that provision. To the extent Petitioner

challenges any such finding she must rebut that presumption by clear and convincing

evidence. See Grant, 886 F.3d at 889.5




5
 The state court’s legal conclusions or mixed findings of law and fact are not entitled to
AEDPA’s presumption of correctness, however. See Martinez v. Zavaras, 330 F.3d 1259,
1262 (10th Cir. 2003).


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   II.    Review of the Supplemental Report and Recommendation

         A. Respondent’s General Objections

               1. The “Background Information” Section

         The Supplemental R. & R. opens with a short section titled “Background

Information,” wherein Judge Purcell summarizes the circumstances of A.S.’s death, details

Petitioner’s judicial proceedings and events involving her defense counsel, and identifies

Petitioner’s habeas claims. See Suppl. R. & R. at 1-6. Respondent objects that this portion

of the Supplemental R. & R. is improper for several reasons, including: its failure to include

a record citation for every proposition, its inclusion of certain items presented to the

magistrate judge by Petitioner and exclusion of certain other items presented by

Respondent, its alleged disregard of presumptively correct state-court factual findings, and

its making of “new findings totally unsupported by the record.” Resp’t’s Obj. at 15-30.

Respondent contends that the deficiencies of the Background Information section render

the entire Supplemental R. & R. unreliable, as this section “sets the stage” for Judge

Purcell’s erroneous conclusion as to Petitioner’s ineffective-assistance claim. Id. at 15-16.

         The Court readily concludes that the “Background Information” section serves as

an introduction of the parties’ controversy and not an exhaustive cataloging of all evidence

considered and all facts found in the analysis of Petitioner’s habeas claims. See Pet’r’s

Resp. at 8. Respondent does not establish that the general recounting of the case history,

or a lack of citations therein, undermines the remainder of the analysis of the Supplemental

R. & R. The Court also notes that this portion of the Supplemental R. & R. presents much

of the same “Factual Background” as did a previous R. & R., to which Respondent did not


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object. See R. & R. of Dec. 12, 2019, at 2-4, 3 n.1. To the extent Respondent raises specific

objections to particular aspects of the Background Information section, see Resp’t’s Obj.

at 23-30, the undersigned will address those objections in connection with the relevant

analysis of Ground One, as applicable.

              2. Discussion of the Trial Court’s Factfinding Process

       Following the evidentiary hearing on Petitioner’s Second Application for

Postconviction Relief, both parties submitted written proposed findings of fact and

conclusions of law to the trial court. The trial court incorporated the State’s proposed

narrative discussion, findings of fact, and conclusions of law nearly verbatim into its order

denying relief. See id. at 31. Compare Trial Ct. Order of Mar. 27, 2018, at 7-30, with

State’s Proposed Order (Doc. No. 227-3) at 3-25.

       In the Supplemental R. & R., Judge Purcell noted the trial court’s wholesale

adoption of the State’s proposed findings of fact and cited several judicial decisions

criticizing the practice by courts of “verbatim adoption” and “uncritical[] accept[ance]” of

findings of fact “prepared without judicial guidance” “by prevailing parties.” Anderson v.

City of Bessemer City, 470 U.S. 564, 572 (1985); see Suppl. R. & R. at 21-23.

       According to Respondent, the Supplemental R. & R.’s recognition of the context of

the trial court’s ruling necessarily establishes that Judge Purcell was improperly applying

pre-AEDPA law and did not actually presume the trial court’s factual findings were correct

as prescribed by 28 U.S.C. § 2254(e)(1). See Resp’t’s Obj. at 31-42. Respondent objects

that how the trial court reached its disposition is “irrelevant” and that consideration of the

circumstances underlying the trial court’s order is not authorized by the current AEDPA


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statutory scheme. Id. at 31-39.6 In support, Respondent focuses upon the fact that

decisions cited by the magistrate judge as disapproving of courts’ verbatim adoption of

prevailing parties’ findings were issued prior to AEDPA’s enactment or occurred in a

different class of cases. See id. at 34-39. Respondent also relies on Sharpe v. Bell, wherein

the Fourth Circuit explained that “AEDPA does not make deference to state court fact-

finding dependent on the adequacy of the procedures followed by the state court.” Sharpe,

593 F.3d 372, 378 (4th Cir. 2010); see Resp’t’s Obj. at 36-42.

       Respondent’s objection misreads the Supplemental R. and R.              Judge Purcell

expressly stated that he was applying the § 2254(e)(1) presumption of correctness to the

state court’s decision. See, e.g., Suppl. R. & R. at 21, 23-24. While the magistrate judge

criticized the trial court’s verbatim adoption of findings submitted by the State, he specified

that he examined the provenance of the trial court’s order only as “context.” Id. at 23-24

(emphasizing that the trial court’s adoption of the State’s findings does not affect

application of § 2254(e)(1)). To the extent Respondent suggests that Judge Purcell

deviated from the § 2254(e)(1) standard, Respondent has not shown that to be the case.

       Nor has Respondent demonstrated that Judge Purcell otherwise erred in addressing

the circumstances underlying the issuance of the state court’s determination. A federal

habeas court is required to apply a presumption of correctness to the state court’s factual

determinations. This requirement does not preclude that court from considering how those



6
  Prior to the 1996 enactment of AEDPA, a statutory presumption of correctness applied to
state-court findings of fact but was subject to eight enumerated exceptions. See Jefferson
v. Upton, 560 U.S. 284, 290-291 (2010) (citing 28 U.S.C. § 2254(d)(1)-(8) (1966)).


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findings were reached, however. “[T]he character of the process upon which the state court

based its conclusion may have some bearing on whether a petitioner’s showing amounts to

‘clear and convincing’ evidence that the state court erred.” Sharpe, 593 F.3d at 378; accord

Lambert v. Blackwell, 387 F.3d 210, 239 (10th Cir. 2004) (“[T]he extent to which a state

court provides a full and fair hearing . . . might be a consideration while applying deference

under . . . § 2254(e)(1).” (internal quotation marks omitted)).

       [P]rocedure often affects substance—that is, the procedural process through
       which a court makes a substantive determination influences the
       reasonableness of the substantive determination itself.
          We consequently have little trouble concluding the procedures a state
       court employs to make factual determinations . . . can affect the
       reasonableness of the court’s subsequent factual determinations.

Smith v. Aldridge, 904 F.3d 874, 882 (10th Cir. 2018) (citation omitted) (discussing the

“unreasonable determination” standard under 28 U.S.C. § 2254(d)(2)).

       Respondent therefore does not show that the Supplemental R. & R.’s consideration

of the “character of the process” undermines or is inconsistent with employment of the

statutory presumption of correctness set forth by § 2254(e)(1). Sharpe, 593 F.3d at 378.

              3. Application of the Presumption of Correctness to Implicit Findings

       In its order denying Petitioner’s Second Application for Postconviction Relief, the

trial court first identified the materials it had reviewed and presented a procedural history

of the case. See Trial Ct. Order of Mar. 27, 2018, at 1-7.7 There is then a discussion (the




7
 This Procedural History was a joint stipulation submitted by the parties at the close of the
evidentiary hearing. See Trial Ct. Order of Mar. 27, 2018, at 2; Postconviction Hr’g Tr. of
Aug. 4, 2015, at 27-28 (conventionally filed).


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“Narrative” section) of Petitioner’s IATC claim, id. at 7-27, followed by a “Conclusion”

section that sets forth 18 “specific findings of fact and conclusions of law” and denies relief

on the IATC claim. Id. at 27-30.8 In the Supplemental R. & R., Judge Purcell discussed

the case and § 2254(e)(1) generally and then stated: “In its order the state court set forth

eighteen findings of fact, preceded by a narrative of supportive reasoning. The Court will

address only those factual findings most relevant to Petitioner’s grounds for relief

addressed therein.” Suppl. R. & R. at 24 (citation omitted).

       Citing Register v. Thaler, 681 F.3d 623 (5th Cir. 2012), Respondent argues that

“‘the presumption of correctness in § 2254(e)(1) applies both to explicit findings and to

unarticulated findings which are necessary to the state court’s conclusions of mixed law

and fact.’” Resp’t’s Obj. at 43 (alterations omitted) (quoting Register, 681 F.3d at 629).9

Respondent objects that the magistrate judge erred by applying the statutory presumption

to the enumerated findings in the trial court’s “Conclusion” section but failing to apply that

presumption to factual findings made by the trial court in the preceding “Narrative” section.

See Resp’t’s Obj. at 43.

       The Court sees nothing in the magistrate judge’s treatment of these two sections that

would amount to a failure to properly apply § 2254(e)(1) to any factual finding implied in



8
  Although Petitioner’s claims for ineffective assistance of appellate counsel were reserved
and not addressed at the postconviction hearing, the trial court denied relief as to certain of
those claims as well. See Trial Ct. Order of Mar. 27, 2018, at 26-27, 30.
9
 Tenth Circuit authority likewise supports the extension of the statutory presumption to
implicit factual findings made by state courts. See, e.g., Ellis v. Raemisch, 872 F.3d 1064,
1071 n.2 (10th Cir. 2017).


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the “Narrative” section of the trial court’s order.         A more natural reading of the

Supplemental R. & R. reflects that Judge Purcell simply chose to focus his discussion upon

the findings and conclusions that Judge Purcell considered germane to Ground One. See,

e.g., Suppl. R. & R. at 17 (referring generally to the trial court’s order as “its findings of

fact and conclusions of law”), 21-22 (citing the “Narrative” section). Further, Respondent

does not identify any specific factual finding from the “Narrative” section, as opposed to

the “Conclusion” section, to which Judge Purcell allegedly failed to accord the presumption

of correctness. See Resp’t’s Obj. at 43.

              4. Summary

       In sum, Respondent has not shown any error that generally tainted the magistrate

judge’s consideration of the state court’s factual findings or resulted in a failure to properly

apply § 2254(e)(1). To the extent Respondent raises specific, material objection to the

facts underlying the magistrate judge’s recommendation, the undersigned will address

those objections below.

       B. Discussion of the Magistrate Judge’s Review of Specific Factual Findings by the
          State Trial Court

              1. Misappropriation of Defense Funds

       After being criminally charged in January 2004, Petitioner was initially represented

by a public defender named Jennifer Richard. In February 2005, Petitioner, through her

mother, retained attorneys Isaac Funderburk and David Slane to replace Ms. Richard. Mr.

Funderburk and Mr. Slane entered their appearances in the state court on February 10,




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2005. Attorney Eric Reynolds joined the defense team shortly before the trial, which was

conducted September 12-16, 2005.

       Petitioner alleges that Mr. Funderburk, who was her contact on the defense team

and handled the financial aspect of her representation, “was distracted from attending to

her case and using funds she provided for experts for his own personal expenses” or for

purposes “other than for their intended use.” Second Am. Pet. at 9. The state trial court

found in relevant part: “While the evidence presented to this Court supports that Mr.

Funderburk did not provide an adequate accounting for Petitioner’s client-trust fund, there

has been no evidence to support Petitioner’s allegation that Mr. Funderburk

misappropriated those funds for his own benefit.” Trial Ct. Order of Mar. 27, 2018, at 30;

see also id. at 24-26.

       The magistrate judge considered this finding in detail, reviewing the postconviction

hearing testimony and record to conclude that Petitioner had rebutted the presumption of

correctness:

       [S]erious questions exist as to the propriety of Mr. Funderburk’s handling of
       the funds provided to him for Petitioner’s defense. Petitioner has certainly
       presented clear and convincing evidence to rebut the state court finding that
       “there has been no evidence to support Petitioner’s allegation that Mr.
       Funderburk misappropriated Defense Funds for his own benefit.” Most
       significant to the present case, however, it is clear funds available to the
       defense for expert witnesses were not used for that purpose.

Suppl. R. & R. at 28-29 (alteration and citation omitted).

       Respondent raises no objection to this aspect of the Supplemental R. & R., and the

Court concurs with Judge Purcell’s conclusion. See id. at 24-29.




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              2. Mr. Funderburk’s Substance Abuse Issues

       In connection with her ineffective-assistance claims, Petitioner alleges that Mr.

Funderburk was dealing with serious “personal and financial difficulties” prior to and

during the September 2005 criminal trial, including substance abuse. Second Am. Pet. at

9; see also Pet’r’s Br. at 79-81. Whether and to what extent Mr. Funderburk was impaired

in his representation of Petitioner due to his drug and alcohol issues10 was addressed in

depth during the state court’s evidentiary hearing. See Trial Ct. Order of Mar. 27, 2018, at

21-24. The trial court ultimately found:

       There has been no evidence presented that Mr. Funderburk was impaired or
       under the influence of intoxicating substances at the time he represented
       Petitioner in this matter. On the contrary, witness testimony supports that
       Mr. Funderburk was functioning normally throughout the course of his
       representation.

Id. at 29-30 (“Factual Finding No. 12”).

       In the Supplemental R. & R., Judge Purcell discussed in detail the relevant evidence

and testimony in the record. This included evidence reflecting that, between February and

September 2005, Mr. Funderburk had engaged in behaviors opined to be consistent with

the abuse of prescription drugs and that, during the same period, he experienced significant

financial and personal troubles, including an ongoing prosecution against him by the

Oklahoma County District Attorney’s Office for drug- and alcohol-related criminal




10
  It is undisputed that, prior to practicing law in Oklahoma, Mr. Funderburk served three
years in federal prison after pleading guilty to two criminal counts, including a felony drug
conspiracy charge. In January 2010, Mr. Funderburk died as a result of an accidental drug
overdose.


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charges. See Suppl. R. & R. at 29-32.11 Judge Purcell ultimately concluded that, despite

the trial court’s finding of “no evidence” of impairment or intoxication, “[t]here is evidence

suggesting [Mr. Funderburk’s struggle with substance abuse problems] also occurred

during Mr. Funderburk’s representation of Petitioner” and that “[w]hether and/or to what

extent these issues affected his representation of Petitioner is unclear.” Id. at 5-6.

          It appears an exceedingly reasonable conclusion that Mr. Funderburk was
       abusing prescription medications during his representation of Petitioner. The
       parties have presented conflicting evidence regarding whether it affected his
       performance during trial. . . . .
          Regardless, it is not necessary for the Court to make a specific
       determination as to whether Petitioner met her burden in rebutting the state
       court’s finding that no evidence was presented indicating Mr. Funderburk’s
       performance was impaired during his representation of Petitioner. While Mr.
       Funderburk’s use, and likely abuse, of prescription medication during his
       representation of Petitioner may provide context for various issues raised
       herein, the Court’s finding that Petitioner received ineffective assistance of
       counsel is not dependent upon the same.

Id. at 31-32 (citation omitted).

       Respondent asserts that this approach “makes a mockery of” 28 U.S.C. § 2254(e)(1),

as the magistrate judge found that Mr. Funderburk was likely abusing prescription

medication without directly concluding that the presumption of correctness owed to the

state court’s arguably incompatible factual finding had been rebutted. Resp’t’s Obj. at 44-

45; see also id. at 28 & n.17. Respondent, somewhat inconsistently, also objects that the

magistrate judge erred in applying § 2254(e)(1) because the burden was placed on

Respondent to justify the state court’s finding rather than on Petitioner to rebut the


11
  Mr. Funderburk pleaded guilty to those charges on November 4, 2005. See State v.
Funderburk, No. CF-2003-6954 (Okla. Cnty. Dist. Ct.).


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associated presumption.     See id. at 45-46.     Petitioner responds that Judge Purcell’s

comments on this point are “clearly dicta” and so these objections are “not relevant.”

Pet’r’s Resp. at 7 n.1.

       It would not have been proper for the magistrate judge to rely upon his own finding

as to Mr. Funderburk’s likely substance abuse without first deciding that the § 2254(e)(1)

presumption had been in relevant part rebutted. Cf. Gardner v. Galetka, 568 F.3d 862, 879

(10th Cir. 2009) (“[T]he correct standard of review under AEDPA is not waivable.”).

Reading this portion of the Supplemental R. & R. in context, however, reflects that Judge

Purcell’s statements regarding Mr. Funderburk’s substance-abuse issues are “unnecessary

to the decision in the case” and therefore dicta. Hetronic Int’l, Inc. v. Hetronic Ger. GmbH,

10 F.4th 1016, 1052 (10th Cir. 2021) (internal quotation marks omitted). Judge Purcell’s

analysis of the IATC claim does not further reference these issues, but instead focuses upon

the ultimate strategic decisions made by defense counsel with respect to causation and

expert witnesses. The objection is therefore overruled.12

              3. Consultation with a Second Expert

       At the postconviction hearing, Petitioner’s defense attorney David Slane testified

that, in addition to a female forensic pathologist named Dr. Corrie May (discussed infra),

the defense team had consulted with a second doctor, who was male, and decided not to

retain him for trial. See Postconviction Hr’g Tr. of Dec. 4, 2014, at 26-29, 47. Citing this

testimony, the state trial court found:


12
  Consistent with this view, this Court accords the trial court’s Factual Finding No. 12 the
presumption of correctness owed it under § 2254(e)(1).


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       The defense did consult with two “mainstream” medical experts, Dr. Corrie
       May and an unnamed male doctor, prior to Petitioner’s trial. Both doctors
       indicated they would be harmful to Petitioner’s defense.

Trial Ct. Order of Mar. 27, 2018, at 28 (“Factual Finding No. 4”); see also id. at 13.

       Petitioner has argued in this proceeding that the state trial court’s determination that

defense counsel consulted with any doctor other than Dr. May should be rejected. See

Pet’r’s Br. at 43-45; Pet’r’s Resp. at 21-27. In the Supplemental R. and R., Judge Purcell

agreed with Petitioner, finding that Petitioner had rebutted the presumption of correctness

owed under § 2254(e)(1). See Suppl. R. & R. at 32-40. In support, Judge Purcell contrasted

Mr. Slane’s “vague” and uncorroborated testimony about the unknown male expert with

record evidence that Judge Purcell considered to “undermine or outright contradict” that

testimony. Id. at 35. Respondent objects to this aspect of the Supplemental R. & R.

       First, Respondent argues that the magistrate judge “improperly reweigh[ed]”

credibility determinations made by the state trial court regarding Mr. Slane’s testimony at

the postconviction hearing, suggesting that the federal court may not reject any aspect of

that testimony in conducting its habeas review. See Resp’t’s Obj. at 51-53, 54-68. The

undersigned agrees that in reaching Factual Finding No. 4, the state trial court “validated

[Mr. Slane’s] testimony both expressly and implicitly,” finding that this aspect of the

attorney’s testimony was credible. Ellis, 872 F.3d at 1071 n.2. This credibility finding is

“one[] of fact.” Id.

       The presence of a credibility determination does not, however, preclude the Court

from considering whether the § 2254(e)(1) presumption has been rebutted or from making

a finding that it has. As prescribed by the Supreme Court, “[a] federal court can disagree


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with a state court’s credibility determination and, when guided by AEDPA, conclude . . .

that the factual premise was incorrect by clear and convincing evidence.” Miller-El v.

Cockrell, 537 U.S. 322, 340 (2003). Here, the magistrate judge’s rejection of the relevant

aspect of the state trial court’s Factual Finding No. 4 (the determination that defense

counsel consulted with a doctor other than Dr. May) is not based on a wholesale rejection

of the credibility of Mr. Slane’s testimony.13 As explained by the magistrate judge,

      Mr. Slane acknowledged that his memory regarding Petitioner’s case was not
      entirely reliable at the time of the evidentiary hearing as it had been ten years
      since Petitioner’s trial. Moreover, Mr. Slane no longer possessed a file from
      Petitioner’s case or any of his notes. By 2015, when Mr. Slane testified in
      this matter, he had practiced twenty-one years, represented thousands of
      defendants, tried hundreds of cases, and noted that his cases ran together in
      his memory. . . . . Indeed, Petitioner’s own evidentiary hearing expert,
      criminal defense attorney Robert Wyatt, stated that he could not remember
      every expert he had hired over the years without consulting a case file.

Suppl. R. & R. at 34 (citing Postconviction Hr’g Tr. of Dec. 4, 2014, at 7, 24, 27;

Postconviction Hr’g Tr. of Mar. 19, 2015, at 144-45); see also Wiggins v. Smith, 539 U.S.

510, 533 (2003) (finding that statements provided by defense counsel during

postconviction proceedings more than four years after sentencing “may simply reflect a

mistaken memory shaped by the passage of time”).

      On the broader point of whether the relevant aspect of the state trial court’s Factual

Finding No. 4 has been shown to be incorrect by clear and convincing evidence,


13
  Respondent implies that the Court would be endorsing perjured evidence by looking to
other witnesses’ differing recollections of events. See Resp’t’s Obj. at 52 (arguing that
Petitioner and her mother had an “incentive to offer false testimony” regarding the
consultation with a second expert). The undersigned has found no indication in the record
that any witness—be it Petitioner, a family member, or the defense attorneys whose own
performance was being challenged—deliberately testified falsely at the hearing.


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Respondent argues that the magistrate judge improperly burdened Respondent with

defending the state court’s factual finding by “pick[ing] apart” Respondent’s evidence and

by concluding that the 28 U.S.C. § 2254(e)(1) presumption had been rebutted without

identifying evidence that directly “contradict[s]” Mr. Slane’s account. Resp’t’s Obj. at 46-

51. The undersigned disagrees.

       On the first point, the Supplemental R. & R.’s discussion of the evidence is

presented within the framework of determining whether Petitioner had met her burden

under § 2254(e)(1). See Suppl. R. & R. at 32-33, 40. An examination of whether the record

evidence is consistent with the trial court’s finding is not “picking apart” Respondent’s

arguments but rather a proper aspect of that determination. See, e.g., Wiggins, 539 U.S. at

528-29, 534 (considering the case record to hold that the state appellate court’s underlying

factual assumption had been shown to be incorrect by clear and convincing evidence); cf.

Colorado, 467 U.S. at 316 (noting that the judging of proof by a clear and convincing

standard requires “weigh[ing]” the opposing parties’ materials on “the evidentiary scales”).

       Further, Respondent’s insistence that Petitioner can rebut the statutory presumption

of correctness only by identifying an item of evidence that wholly contradicts Mr. Slane’s

imprecise testimony and renders it “entirely unreliable” is misguided. Resp’t’s Obj. at 47-

50, 66 (emphasis omitted). As noted above, “clear and convincing” is an “intermediate”

standard, calling for proof that the truth of the contention is “highly probable.” Fontenot,

4 F.4th at 1018. “‘Highly probable’ is a standard that requires more than a preponderance

of the evidence but less than proof beyond a reasonable doubt.” Bishop v. Warden, GDCP,

726 F.3d 1243, 1258-59 (11th Cir. 2013) (internal quotation marks omitted). “In the §


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2254(e)(1) context, this standard ‘is demanding but not insatiable.’” Fontenot, 4 F.4th at

1018 (quoting Miller-El v. Dretke, 545 U.S. 231, 240 (2005)).14

       Having considered the relevant record, the undersigned concurs that Petitioner’s

rebuttal burden has been met. As noted in the Supplemental R. & R., Mr. Slane’s testimony

regarding the consultation with a second expert was qualified by uncertainty:

           Mr. Slane testified that he, along with Mr. Funderburk, spoke with two
       doctors regarding Petitioner’s case, a male expert and Dr. May. He testified
       that they first spoke with a male doctor “that we sent the information to.” Tr.
       Dec. 4, 2014 Vol. I at 26. He thinks the male doctor was a forensic
       pathologist. Id. at 26, 85. Mr. Slane testified that he cannot recall this male
       doctor’s name, when they spoke with him, where he resided other than it was
       not in Oklahoma, []or when they received his opinion. Id. at 26, 29, 85-86.
       Indeed, the only things he can recall are that the male expert charged them a
       fee for his services and that the expert’s opinion would have been harmful to
       their case.
          There are three amounts Mr. Slane believes they paid to doctors -
       $1,000.00, $2,000.00, and $5,000.00. Id. at 27. “I don’t remember who got
       what and when. But I thought that we had sent a packet to a male doctor and
       asked him to review the information to see if he could help us. And we got
       a pretty quick response back from him.” Id. Mr. Slane later testified he
       thought they paid the unknown male doctor $1,000.00 to review their
       materials. Id. at 84-85. Mr. Slane indicated they later spoke with the male
       doctor on the speakerphone in Mr. Slane’s office. Id. at 27-28, 85-86. The
       doctor informed them that he would be harmful to their case and therefore,
       they did not speak with him further. Id.

Suppl. R. & R. at 34-35 (footnote omitted). Mr. Slane further testified that he did not recall

whether the second doctor’s practice was “mainstream” in nature (as was found by the trial




14
   To the extent the magistrate judge concluded that Petitioner’s evidence contradicts Mr.
Slane’s testimony outright, the undersigned disagrees. While not determinative for the
reasons set forth above, Petitioner does not identify any item of evidence that directly
refutes Mr. Slane’s contention that a second expert was consulted.


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court in Factual Finding No. 4). Postconviction Hr’g Tr. of Dec. 4, 2014, at 47, 86 (“[I]t

was a doctor that [Mr. Funderburk] was aware of.”).

        Petitioner directs the Court to numerous items of evidence that are not in accord

with Mr. Slane’s recollection of events and therefore undermine the disputed state-court

finding. These include:

     • At the postconviction hearing, Mr. Slane was questioned regarding an affidavit that
       he had given and signed. See Slane Aff. of Sept. 4, 2012 (Ex. G, State’s Resp. to
       Pet’r’s Second Appl. Postconviction Relief (Postconviction R. at 2380-83))
       (conventionally filed). The affidavit provides details as to the attorneys’ contact
       with Dr. May, and other facts regarding their representation of Petitioner, but does
       not reference consulting with or wanting to hire a second expert. See id. Mr. Slane
       “do[es] [not] know” why there is no mention of a second expert in the affidavit.
       Postconviction Hr’g Tr. of Dec. 4, 2014, at 84-85, 88-89, 113-15.

     • Although Mr. Slane “kind of th[ought]” defense counsel “may have paid” or was
       going to pay the male doctor $1000 to review medical records, the bank records for
       Petitioner’s client trust account do not reflect any payment made in this amount or
       any payment made to a male expert medical witness. Id. at 27, 84-85; see Bank
       Records, Hr’g Ex. 39 (conventionally filed). Mr. Slane could not explain why there
       was no check written to a male medical expert. See Postconviction Hr’g Tr. of Dec.
       4, 2014, at 86.

     • After the trial had concluded, Petitioner and individuals who had provided funds for
       Petitioner’s defense filed grievances with the Oklahoma Bar Association (“OBA”)
       regarding Isaac Funderburk’s defense strategy and possible misappropriation of
       funds. Mr. Funderburk submitted at least two written responses to the OBA. See
       Funderburk Ltr. of Apr. 29, 2006, Hr’g Ex. 45, at 2-6; Funderburk Ltr. of Aug. 3,
       2006, Hr’g Ex. 45, at 18-20; see also Postconviction Hr’g Tr. of Mar. 3, 2015, at
       63-65. In one of these responses, Mr. Funderburk outlined the pretrial and trial
       efforts taken on Petitioner’s behalf, including his “utiliz[ation] [of] the trust fund
       monies to employ[] the experts that I thought w[ere] best.” Funderburk Ltr. of Apr.
       29, 2006, at 5. Mr. Funderburk nowhere mentions contacting a second medical
       expert or any record review undertaken by such an expert. See id. at 2-6.15 In the


15
  Before the magistrate judge, Respondent argued that Mr. Funderburk’s use of “experts”
on page three of this letter was an “oblique[]” reference to the second, male medical expert.
Answer at 74. Respondent does not reurge this position here, and the Court agrees with

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        other OBA response, Mr. Funderburk supplied “a breakdown of how the trust
        money was spent”; there is no payment to any medical expert identified.
        Funderburk Ltr. of Aug. 3, 2006, at 19-20.16
     • Petitioner’s defense attorney Eric Reynolds testified that he was not involved in any
       conversations about consulting with a second medical expert and that, after
       receiving Dr. May’s unfavorable opinion, he was not aware of any discussion
       having occurred as to whether to obtain another medical opinion. See
       Postconviction Hr’g Tr. of Dec. 3, 2014, at 28; accord Hr’g Ex. No. 38, Reynolds
       Aff. of June 4, 2012, ¶ 6 (“I . . . am not aware of any other experts . . . that were
       involved in this case, except for Dr. May.”) (Pet’r’s Postconviction App. Ex. 66
       (Postconviction R. at 1812-17)).

     • During her consultations with defense counsel, Dr. Corrie May was “[n]ever made
       aware that anybody else in the defense team had consulted with anybody else about
       this case on the medical issues.” Postconviction Hr’g Tr. of Jan. 22, 2015, at 24.

     • When Petitioner met with her defense counsel the week prior to the commencement
       of trial, they discussed expert witnesses and the retention of Dr. May, but no attorney
       mentioned having had another medical expert review the files in the case.
       Postconviction Hr’g Tr. of Mar. 5, 2015, at 52-54.

     • Donna Carmichael, Petitioner’s mother, understood from a meeting with Mr.
       Funderburk approximately three weeks prior to trial that defense counsel had not
       hired any expert witnesses. Postconviction Hr’g Tr. of Dec. 1, 2014, at 165-66, 177-
       78.

        While “the significance of” certain items of Petitioner’s evidence “is open to

judgment calls,” “when [the] evidence” regarding the alleged second expert “is viewed

cumulatively,” it is “highly probable” that the defense attorneys did not consult with an

unknown male doctor prior to trial. Dretke, 545 U.S. at 265; Fontenot, 4 F.4th at 1018.

Having conducted the requisite de novo review, the Court agrees with the magistrate judge



Judge Purcell that such an interpretation is not supported when the relevant language is
read in context with the remainder of the letter. See Suppl. R. & R. at 37.
16
   The lack of an entry for Dr. May in this breakdown is consistent with Dr. May’s
testimony—i.e., that she billed Mr. Funderburk for her services but never received
payment. See Postconviction Hr’g Tr. of Jan. 22, 2015, at 30-31.


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that Petitioner has rebutted the statutory presumption of correctness as to this aspect of the

trial court’s Factual Finding No. 4.17

              4. Retention of Dr. Corrie May

       The state trial court found that “the defense first retained Dr. May’s services on

September 1, 2005, and were aware of her opinion that the victim’s injuries were consistent

with child abuse by September 9, 2005.” Trial Ct. Order of Mar. 27, 2018, at 28 (“Factual

Finding No. 5”); see also id. at 14. Judge Purcell rejected Petitioner’s challenge to the

latter aspect of this finding, concluding that, while “[i]t is unlikely a member of the defense

team reviewed Dr. May’s opinion prior to the night of Sunday, September 11, 2005”—i.e.,

the night before trial commenced—Dr. May had faxed her report to Mr. Funderburk on

Friday, September 9, 2005, and Petitioner had not presented clear and convincing evidence

that defense counsel had not accessed the report between that September 9 transmission

and the evening of September 11, 2005. Suppl. R. & R. at 40-49.




17
   Pursuant to 28 U.S.C. § 2254(e)(1), Petitioner’s burden is to rebut the presumption of
correctness afforded the state court’s factual determination. Although arguably a
distinction lies between simply rebutting the presumption of correctness attached to a
factual determination and establishing that the factual determination is itself erroneous, the
Supreme Court has conflated or equated the two showings, indicating that fulfilling the
former has the effect of accomplishing the latter, See Cockrell, 537 U.S. at 348 (stating that
§ 2254(e)(1) requires a petitioner to “demonstrate that a state court’s finding . . . was
incorrect by clear and convincing evidence”); accord id. at 341 (noting that a reviewing
court will “determine whether the trial court’s determination . . . has been rebutted by clear
and convincing evidence to the contrary”); Dretke, 545 U.S. at 266 (“The state court’s
conclusion . . . is shown up as wrong to a clear and convincing degree; the state court’s
conclusion was . . . erroneous.”). Accordingly, the undersigned views Petitioner’s burden
under AEDPA through this lens.


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       No objection is raised to Judge Purcell’s disposition on this point, and the

undersigned concurs that Factual Finding No. 5 should be presumed correct.

              5. The Timing of David Slane’s Involvement in Petitioner’s Defense

       Finally, Respondent objects that Judge Purcell “total[ly] disregard[ed]” Factual

Finding No. 5 and other portions of the state trial court’s order when concluding that Mr.

Slane “likely . . . did not become actively involved in Petitioner’s defense until immediately

before trial.” Resp’t’s Obj. at 28-30, 53-68; Suppl. R. & R. at 6 n.2. As support,

Respondent quotes at length from the trial court order, including multiple mixed

conclusions of law and fact not entitled to a presumption of correctness and much that is

not specifically connected to Mr. Slane or the timing of his representation. See, e.g.,

Resp’t’s Obj. at 30, 61.

       Even assuming Judge Purcell’s conclusion is improper, and giving all germane

factual findings a presumption of correctness, the analysis in the Supplemental R. and R.

of Petitioner’s IATC claim is not materially affected. That is, regardless of when Mr. Slane

first became involved, Petitioner’s defense team ultimately performed deficiently for the

reasons stated below.

       Respondent further complains that the magistrate judge used this belief as to the

timing of Mr. Slane’s involvement to improperly concentrate the Ground One analysis

upon the performance of Mr. Funderburk, rather than upon the representation of the defense

team collectively. See Resp’t’s Obj. at 62, 81 n.22 (citing Suppl. R. & R. at 6 n.2). It is

true that the Supplemental R. and R. describes the acts and omissions of Mr. Funderburk

in detail; however, this approach is largely a function of Mr. Funderburk’s key role with


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respect to the issues—pretrial consultation with Petitioner and with medical experts, trial

strategy, and funding—upon which Ground One is based. See Second Am. Pet. at 7-8; see,

e.g., Postconviction Hr’g Tr. of Dec. 4, 2014, at 47, 85-86 (Mr. Slane testifying that the

second medical expert was someone Mr. Funderburk “had been in communication with”);

id. at 86 (“Mr. Funderburk was handling the money in this case because it was his client.”);

Slane Aff. of Sept. 4, 2012, ¶ 4 (Mr. Slane stating that Mr. Funderburk “consulted with and

retained” Dr. May); Trial Tr. of Sept. 12, 2005, at 6-11 (Doc. No. 102-1) (Mr. Slane stating

to trial court that he would prefer not to address the requests in the State’s motion in limine

that sought to preclude evidence of A.S.’s frequent falls and unusual behavior, self-inflicted

head trauma, and developmental delays, and requesting that the trial court wait to allow the

absent Mr. Funderburk to “deal with the issue”); Trial Tr. of Sept. 13, 2005, at 14 (Mr.

Slane stating to trial court: “Today we got here, Mr. Funderburk got here and gave . . . the

two-page letter of what [Dr. May’s] summary is.”). In any event, even assuming error by

the magistrate judge in this respect, the undersigned has conducted the requisite review by

examining the assistance provided by Petitioner’s defense team as a whole.

       C. Analysis of Ground One: Ineffective Assistance of Trial Counsel

       In the Supplemental R. & R., Judge Purcell analyzed Petitioner’s IATC claim under

the familiar two-pronged test established by the Supreme Court in Strickland v.

Washington, 466 U.S. 668. See Suppl. R. & R. at 49-90. This Court applies that same test

in its de novo review of Petitioner’s claim.

       To satisfy the first prong of Strickland, Petitioner “must show that counsel’s

performance was deficient.” Strickland, 466 U.S. at 687. That is, Petitioner must show


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that her counsel’s performance “fell below an objective standard of reasonableness,” or, in

other words, that counsel’s performance was “not within the range of competence

demanded of attorneys in criminal cases.” Id. at 687-88 (internal quotation marks omitted).

           The first prong—constitutional deficiency—is necessarily linked to the
       practice and expectations of the legal community: The proper measure of
       attorney performance remains simply reasonableness under prevailing
       professional norms. In any case presenting an ineffectiveness claim, the
       performance inquiry must be whether counsel’s assistance was reasonable
       considering all the circumstances.

Hinton v. Alabama, 571 U.S. 263, 273 (2014) (citation and internal quotation marks

omitted). There is a “strong presumption” that counsel acted reasonably, and counsel’s

performance will not be deemed deficient if it “might be considered sound trial strategy.”

Strickland, 466 U.S. at 689 (internal quotation marks omitted).

       Our review of counsel’s effectiveness is “highly deferential.” [Strickland,
       466 U.S. at 689.] In assessing [counsel’s] performance, we consider all the
       circumstances, making every effort to eliminate the distorting effects of
       hindsight, and view his conduct from his perspective at the time. By the
       same token, we must eschew post hoc rationalizations for [counsel’s]
       deliberations, investigations, and defense strategy, or lack thereof.

Smith, 379 F.3d at 929 (alteration, citation, and internal quotation marks omitted).

       To satisfy the second prong of Strickland, Petitioner must show that counsel’s

deficient performance prejudiced the defense. See Strickland, 466 U.S. at 687. That is,

Petitioner must show that “but for counsel’s unprofessional errors,” “there is a reasonable

probability that . . . the result of the proceeding would have been different.” Id. at 694. “A

reasonable probability is a probability sufficient to undermine confidence in the outcome.”

Id.




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              1. Whether Petitioner’s Counsel Rendered Deficient Performance

       At Petitioner’s criminal trial, the State presented three medical experts: Dr. Johnny

Griggs, Dr. David Korber, and Dr. Chai Choi. “Dr. Griggs opined that A.S. had died as a

result of ‘shaken baby syndrome,’ and Dr. Korber reported findings that were consistent

with this diagnosis. Similarly, Dr. Choi concluded that the boy had died from head trauma

with blunt force.” Proposed FFCL at 2-3 (footnotes omitted). For the defense, Petitioner

and a handful of character witnesses testified, but counsel presented no expert opinion

testimony. In Ground One, Petitioner alleges that the performance of her defense counsel

was deficient in their “failure to fully investigate the cause of death and the timing of the

injuries attribute[d] to Petitioner, including the failure to timely consult with and retain

expert witnesses,” and “failure to present testimony from the expert witnesses as to the

cause and timing of the fatal injuries.” Second Am. Pet. at 7.

       In the Supplemental R. & R., Judge Purcell considered this IATC claim in detail

and ultimately concluded that defense counsel’s performance did not meet prevailing

professional norms and, therefore, was constitutionally deficient. Respondent objects that

the magistrate judge did not “faithfully apply” Strickland and instead viewed counsel’s

actions “through the distorting effects of hindsight.” Resp’t’s Obj. at 69-70. According to

Respondent, defense counsel’s decisions with respect to medical experts were strategic

choices that were reasonable under prevailing professional norms and under the

circumstances of Petitioner’s criminal case. See id. at 69-103.

       The undersigned has reviewed both the trial and postconviction proceedings, as well

as the parties’ arguments and cited authorities, in undertaking the required de novo review


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of the Supplemental R. & R. Having done so, the undersigned concurs with Judge Purcell’s

thorough and well-reasoned analysis. While Respondent is correct that ineffectiveness is

not established by an unsuccessful outcome, it is clear that, “considering all the

circumstances,” defense counsel’s representation in this matter fell “below an objective

standard of reasonableness.” Strickland, 466 U.S. at 688.

      The Supplemental R. & R. found in relevant part that “[n]othing in the record

indicates counsel’s failure to contact a medical expert witness until September 1, 2005,

when trial was imminent, was a strategic decision.” Suppl. R. & R. at 72.

      [I]n a case where the timing of A.S.’s injuries were of critical importance,
      Mr. Funderburk did not contact a medical expert holding any opinion until
      less than two weeks before trial, endorsed her (likely as a result of this delay)
      as an expert witness prior to knowing her opinion, and did not realistically
      have enough time after receiving her opinion to follow up on her suggestions
      or consult other experts for a potentially more helpful opinion. . . . .

          ....

       . . . [C]ounsel did not contact Dr. May until September 1, 2005, [and] did
      not provide the necessary records for her review until the night of September
      [3], 2005, so that she began reviewing the records the following [Monday]
      morning – one week before trial started. Due to the looming trial deadlines,
      defense counsel endorsed her as a witness without knowing Dr. May’s
      ultimate opinions or suggestions. By the time they received Dr. May’s
      opinion on the eve of trial, there was no time to consult with another medical
      expert to see if they could possibly find an expert that might reach a different
      conclusion. . . . [T]his left Petitioner without a substantial defense and with
      no expert testimony to support an alternative cause of death or injury.

         The Court agrees that defense counsel was not required to “doctor shop,”
      as Respondent phrased it. In other words, counsel was not required to
      perpetually continue searching for an expert witness until he found one to
      support an alternative cause of death. However, there is a cavernous divide
      between “doctor shopping” and failing to contact a medical expert witness
      until less than two weeks before trial. . . . .

          ....

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 . . . Dr. May did suggest certain follow up tests and/or other types of medical
experts who may be able to more directly illuminate the cause of death and/or
the timing of the injury. In Dr. May’s report, she stated:

   (2) The documentation of the microscopic analysis of the brain by the
   pathologist for the presence or absence of axonal retraction bulbs,
   indicating diffuse axonal injury (DAI) fails to include the use of
   special histological stains and which areas of the brain were sampled.
       ....
   (4) In my view the inclusion of specialized pathology consultants,
   specifically a neuropathologist and ophthalmic pathologist[,] would
   have afforded a more thorough examination of the brain and eyes.

[Dr. May Report, Hr’g Ex. 32, at 51.] During the evidentiary hearing, Dr.
May testified that the types of medical experts she referenced, including
neuropathologists, presumably existed in Oklahoma City. [Postconviction
Hr’g Tr. of Jan. 22, 2015, at 53-54.] However, counsel could not realistically
make a choice about whether to follow up on her suggestions as trial was
starting within two days, at most. . . . .

    Thus, . . . the Court finds counsel’s decisions to either not consult an
additional expert and/or not follow up on Dr. May’s suggestions were not
strategic choices. In a case that relied so heavily on medical evidence,
“counsel’s efforts to investigate and attempt to secure suitable expert
assistance in preparing and presenting defendant’s case fell below an
objective standard of reasonableness.” [People v. Ackley, 870 N.W.2d 858,
865 (Mich. 2015).] Counsel was not able to make a “strategic choice” due
to his delay in consulting a medical expert for Petitioner’s defense. The
choice was out of his hands at that point, unless he was willing to seek a
continuance, and it is clear from the record he did not attempt to do so.

   The Supreme Court has explained:

   [S]trategic choices made after thorough investigation of law and facts
   relevant to plausible options are virtually unchallengeable; and
   strategic choices made after less than complete investigation are
   reasonable precisely to the extent that reasonable professional
   judgments support the limitations on investigation. In other words,
   counsel has a duty to make reasonable investigations or to make a
   reasonable decision that makes particular investigations unnecessary.
   In any ineffectiveness case, a particular decision not to investigate
   must be directly assessed for reasonableness in all the circumstances,
   applying a heavy measure of deference to counsel’s judgments.


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[Wiggins, 539 U.S. at 521-22] (quoting Strickland, 466 U.S. at 690-91).
Based on the record, the Court cannot conclude Mr. Funderburk engaged in
a reasonable investigation that would make his decision not to consult with
and/or potentially present other expert witnesses a strategic choice.

    The deficient performance prong of Strickland . . . “is necessarily linked
to the practice and expectations of the legal community: The proper measure
of attorney performance remains simply reasonableness under prevailing
professional norms.” Hinton, 571 U.S. at 273 (quotations omitted).
Petitioner presented Robert Wyatt, a local criminal defense attorney
recognized by various organizations for the quality of his legal
representation, to offer his opinion regarding whether Mr. Funderburk’s
representation violated the Strickland standard of effective assistance of
counsel. [Postconviction Hr’g Tr. of Mar. 19, 2015, at 89-96; Postconviction
Hr’g Tr. of Mar. 20, 2015, at 2-42.]

   He testified that specifically in a case that turns so starkly on medical
evidence and, where funds were provided, it was unreasonable “to not engage
an expert until about 10 days before trial, which is the day the witness list is
due.” [Postconviction Hr’g Tr. of Mar. 19, 2015, at 103.] . . . .

    Mr. Wyatt also explained that unless you were using it solely for cross-
examination purposes, it would not be possible that a report received as close
to the beginning of trial as Dr. May’s would adequately inform a defense
strategy. Id. at 107. For example, in this case, Dr. May specifically
suggested that defense counsel investigate particular issues that might show
the subject injuries were older than alleged in this case. Id. Mr. Wyatt
concluded that the delay in obtaining an expert witness in this case could not
be considered strategic.

   Not a strategic reason, if they didn’t have other expert testimony lined
   up.
   I can’t see that there’s strategy at all when it’s 10 days before trial.
   That’s where I have a problem with it.
       ....
    . . . That’s not a strategic approach. You have to have a game plan
   going into trial, not seat of your pants. And you don’t get the materials
   the Friday before Monday’s trial, or the night before, that’s not
   strategic period.
   So any questions regarding strategy, I have to say that with respect to
   expert testimony in this case, I don’t think it’s strategic, period.



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       Id. at 115-16.

            Mr. Wyatt also noted that even if the expert witness, such as Dr. May,
       states that they had ample time to review the record and provide an opinion,
       it is still not reasonable performance by counsel because they have no time
       to adjust their strategy. Id. at 139. Mr. Slane stated that they consulted with
       an additional expert witness and he had adequate time to adjust their strategy
       following receipt of Dr. May’s report. However, the defense did not have
       time to follow up on Dr. May’s suggestions regarding histological stains and
       the presence of iron in A.S.’s injuries. She indicated further examination and
       testing of these issues might prove A.S.’s fatal injuries were older than the
       State alleged. Id. at 139.

Suppl. R. & R. at 52-69 (footnote and alterations omitted) (certain alterations and

omissions in original).

       The undersigned agrees that Petitioner has overcome the presumption that her

counsel’s failure to engage an expert witness until eleven days before Petitioner’s first-

degree murder trial “might be considered sound trial strategy.” Strickland, 466 U.S. at 689

(internal quotation marks omitted). Although Petitioner’s defense attorneys were “not

required to shop around for an expert until [they] found one that supported an alternative

theory of causation, the fact that [they] did not consult a medical expert until trial was

imminent, [the] witness list was due, and [they] had no time to follow up on any potential

suggestions from the expert and/or alter [their] strategy is undeniably deficient.” Suppl. R.

& R. at 70-71.

       Respondent first objects that criticism of defense counsel’s timing as to contacting

Dr. May as a potential witness is unfounded because Dr. May testified that she had

“adequate time” and “materials” to form her opinion regarding Petitioner’s records.

Postconviction Hr’g Tr. of Jan. 22, 2015, at 41-42; see Resp’t’s Obj. at 81-84. As stated



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by Petitioner, this objection “misses the point”—that is, that defense counsel did not

procure and review that opinion, thereby learning that Dr. May’s testimony would be

unfavorable to Petitioner, until the trial already was upon them. Pet’r’s Resp. at 29.

       Respondent relatedly argues that the defense team’s failure to seek out another

expert, or to otherwise pursue additional medical evidence regarding the timing and cause

of A.S.’s death, was a matter of strategy and the product of a “reasonable investigation.”

Resp’t’s Obj. at 80, 88-102.18 This view is belied by the record, however, which reflects

that the late action by the defense team in contacting Dr. May and reviewing her opinion

left them no ability to turn to an alternative expert or pursue a different theory of defense.

In other words, the record “underscores the unreasonableness of counsel’s conduct by

suggesting that their failure to investigate thoroughly resulted from inattention, not

reasoned strategic judgment.” Wiggins, 539 U.S. at 526; cf. Wyatt Aff. of June 5, 2012, ¶

6 (Pet’r’s Postconviction App. Ex. 85 (Postconviction R. at 2233-36)) (stating that, in his

professional opinion, it would be unreasonable “from a strategy standpoint”: to fail to

“obtain the full medical record” and send it “as promptly as possible for a medical review”;

based upon the outcome of that review, to fail to “either seek a second opinion” or “retain

the expert” and “conduct any additional investigation and specialist review suggested by

the expert”; “to wait until the day before a final witness list was due to contact or consult



18
  Respondent objects that the Supplemental R. & R. incorrectly characterizes Dr. May’s
opinion as contingent on further testing. See Resp’t’s Obj. at 27. To the contrary: the
Supplemental R. & R. makes clear that Dr. May’s final opinion was unfavorable to
Petitioner but correctly notes that Dr. May also suggested additional testing or
consultations. See Suppl. R. & R. at 4, 42, 52, 64-65, 68.


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with a medical expert for the first time”; and to “fail[] to seek a continuance” to follow up

on the issues raised in Dr. May’s report).19

       Mr. Funderburk and Mr. Slane entered their appearances on Petitioner’s behalf on

February 10, 2005. On March 4, 2005, the trial court set the criminal trial docket call for

September 9, 2005, with trial to commence on September 12, 2005. At no point thereafter

did defense counsel seek a continuance. See State v. Moore, No. CF-2004-351 (Okla. Cnty.

Dist. Ct.). It was not until Thursday, September 1, 2005, that defense counsel first

contacted Dr. May regarding potential retention in Petitioner’s case. Trial Ct. Order of

Mar. 27, 2018, at 28. Defense counsel did not deliver relevant records to Dr. May for

review until a meeting late in the evening on Saturday, September 3, 2005. Postconviction

Hr’g Tr. of Jan. 22, 2015, at 12-14. But on September 2, 2005, Mr. Funderburk identified

Dr. May as the only named testifying medical expert on the defense list filed with the trial

court. See Pet’r’s Witness & Ex. List (Doc. No. 102-3, at 73-75). Dr. May transmitted her

written report to Mr. Funderburk’s office via fax on Friday, September 9, 2005, and also

sent a copy via FedEx, to be delivered by the afternoon of September 12, 2005. Trial Ct.

Order of Mar. 27, 2018, at 14, 28. Mr. Funderburk and Dr. May met in person on the

evening of Sunday, September 11, 2005, at which time she provided Mr. Funderburk

another copy of her report. Postconviction Hr’g Tr. of Jan. 22, 2015, at 21-24.




19
  The undersigned rejects Respondent’s criticism of Mr. Wyatt’s testimony as “wholly
uni[n]formed.” Resp’t’s Obj. at 101-02. Mr. Wyatt’s testimony, which was subject to
cross-examination by the State, reflected that he had prepared extensively in forming his
opinion. See, e.g., Postconviction Hr’g Tr. of Mar. 19, 2015, at 94-95, 102-05.


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       When the criminal trial commenced on Monday, September 12, 2005, the trial court

took up the State’s motion in limine, which requested that Petitioner not be allowed to

mention Dr. May in front of the jury until the State was provided with a report or summary

of Dr. May’s proposed testimony. Mr. Funderburk was absent from the first day’s

proceedings. See Trial Tr. of Sept. 12, 2005, at 9. Mr. Slane’s argument to the trial court

indicates that defense counsel had not yet decided whether they would call Dr. May to the

stand. See id. at 6 (Mr. Slane stating he would “stay away” from mentioning Dr. May at

voir dire). Dr. May testified that at 2:08 p.m. on Monday, September 12, 2005, she spoke

by telephone with Mr. Funderburk and was told that she “would not be expected to testify”

at trial. Postconviction Hr’g Tr. of Jan. 22, 2015, at 24. The next day, Tuesday, September

13, 2005, Mr. Slane and Mr. Funderburk represented to the trial court that they “probably”

would not call Dr. May to testify. Trial Tr. of Sept. 13, 2015, at 14. Defense counsel

nevertheless turned over Dr. May’s summary to the prosecution. See id. (“[The State] ha[s]

the report.”).20

       The State also moved to preclude the presentation of evidence by the defense

regarding A.S.’s tantrums, frequent falls, unusual behavior, self-inflicted head trauma, and

developmental delays. See State’s Mot. in Limine at 90-92; Trial Tr. of Sept. 12, 2005, at

6-12. On Monday, September 12, 2005, Mr. Slane requested to defer to Mr. Funderburk

upon that attorney’s return as to the response to this aspect of the State’s motion in limine.



20
  As noted by Petitioner, Dr. May’s conclusion was thereafter revealed to the jury through
one of the State’s witnesses. See Pet’r’s Resp. at 20 n.11; Trial Tr. of Sept. 14, 2015, at
221-24 (Dr. Griggs testifying that Dr. May agreed with his findings).


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See Trial Tr. of Sept. 12, 2005, at 7-11. The trial court granted that request but expressed

doubts that such evidence would be relevant. See id. at 7-8, 9. The next day, defense

counsel made a confusing and rambling effort to establish admissibility. See Trial Tr. of

Sept. 13, 2005, at 14-25. The trial court rejected this argument, finding that defense counsel

had failed to provide the State adequate notice of their intention and had failed to show

sufficient relevance or causal connection between such evidence and the charged crime.

See id. at 25-27; Trial Tr. of Sept. 15, 2005, at 120-23.

       Respondent’s argument that defense counsel’s performance in this regard was the

result of strategic judgment is defeated by the timing and circumstances of the decisions

made by those attorneys. See Wiggins, 539 U.S. at 527 (“In assessing the reasonableness

of an attorney’s investigation, . . . a court must consider not only the quantum of evidence

already known to counsel, but also whether the known evidence would lead a reasonable

attorney to investigate further.”). According to Mr. Slane and Mr. Reynolds, the working

theory for the defense team was to argue that A.S. had been fatally injured through

accidental means. See Reynolds Aff. of June 4, 2012, ¶ 4; Postconviction Hr’g Tr. of Dec.

4, 2014, at 47. Both attorneys related that the receipt of Dr. May’s opinion that the cause

of A.S.’s death was consistent with abuse, as well as follow-up conversations with Dr. May

after trial already had begun, caused them to instead attempt to point the blame for A.S.’s

death at the child’s father at trial. See Reynolds Aff. of June 4, 2012, ¶ 9; Slane Aff. of

Sept. 4, 2012, ¶ 6; Postconviction Hr’g Tr. of Dec. 4, 2014, at 49. In other words,

Petitioner’s criminal defense was conceived when they learned of Dr. May’s opinion one




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to three days prior to trial and, possibly, when the trial court granted the State’s motion in

limine during trial.

         For at least seven months preceding that point, defense counsel “had every reason

to develop the most powerful . . . case possible” as to medical causation and timing issues.

Wiggins, 539 U.S. at 526. As detailed elsewhere, their failure to do so was not the result

of a lack of a plausible defense to pursue or money to fund the pursuit. See Order of May

14, 2020, at 2-3; Suppl. R. & R. at 74-80, 83-86 (summarizing new medical evidence

presented by Petitioner to support proposition that A.S. could not have died from actions

taken by Petitioner on the date alleged by the State); Slane Aff. of Sept. 4, 2012, ¶ 4

(identifying health and development records that were in counsel’s possession); Trial Ct.

Order of Mar. 27, 2018, at 12 (same); Proposed FFCL at 12-14 (citing records of A.S.’s

preexisting health issues and earlier falls and finding that “[e]ven if the fact-finder were to

view the evidence of prior falls with a skeptical eye, it could not possibly regard A.S. as a

boy in ‘perfectly fine’ condition until January 13, 2004”); Suppl. R. & R. at 24-29

(summarizing the funds provided to Mr. Funderburk for use on experts and investigators).21

This was “inattention, not reasoned strategic judgment.”22 Wiggins, 539 U.S. at 526; see



21
   Dr. May testified that she did not recall being specifically asked by defense counsel
regarding the timing of A.S.’s injuries. See Postconviction Hr’g Tr. of Jan. 22, 2015, at
51-52; see also Reynolds Aff. of June 4, 2012, ¶¶ 7-8.
22
     As instructed by the Tenth Circuit:
      [E]ven where an attorney pursued a particular course of action for strategic reasons,
      courts still consider whether that course of action was objectively reasonable,
      notwithstanding Strickland’s strong presumption in favor of upholding strategic
      decisions.


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also id. at 527 (“Strickland does not establish that a cursory investigation automatically

justifies a tactical decision . . . . Rather, a reviewing court must consider the reasonableness

of the investigation said to support that strategy.”).23

       Finally, Respondent, while not conceding deficient performance, attempts to justify

Petitioner’s counsel’s delay and inaction by arguing that A.S.’s daycare provider, Janus

Roth, misled the defense team as to her credentials and as to the extent that she would be

able to assist with trial preparation. See Resp’t’s Obj. at 84-88. Ms. Roth was not an

attorney of record for Petitioner and was not otherwise retained to assist in this matter,

however. Under “all the circumstances,” it would not have been “strategically reasonable”

for defense counsel to rely upon Ms. Roth as a basis for failing to conduct their own

investigation and to timely procure witnesses and evidence. Strickland, 466 U.S. at 691;

Saranchak v. Sec’y, Pa. Dep’t of Corr., 802 F.3d 579, 594 (3d Cir. 2015) (finding that

defense counsel’s performance was deficient where, inter alia, the attorney failed to obtain

a psychiatric evaluation or to retain a defense expert, despite “his belief that [the




Bullock v. Carver, 297 F.3d 1036, 1048 (10th Cir. 2002). “[T]he mere incantation of
‘strategy’ does not insulate attorney behavior from review.” Brecheen v. Reynolds, 41 F.3d
1343, 1369 (10th Cir. 1994) (internal quotation marks omitted).
23
   Further, Respondent’s suggestion that simply cross-examining the State’s experts was a
reasoned and reasonable strategy is seriously undermined by defense counsel’s affirmative
belief that “without a supporting expert or a better explanation as to how the child was
injured,” Petitioner “had no chance of an acquittal.” Reynolds Aff. of June 4, 2012, ¶ 4;
see also id. ¶ 8 (Mr. Reynolds stating that he does not recall defense counsel preparing any
cross-examination based upon Dr. May’s report); Hinton, 571 U.S. at 273 (“Criminal cases
will arise where the only reasonable and available defense strategy requires consultation
with experts or introduction of expert evidence.” (internal quotation marks omitted)).


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defendant’s] mental health was important to his case,” based only upon a neutral court-

appointed expert’s competency determination).

         As trial commenced, the defense team did not know if they would have a tenable

expert and was clearly not making “strategic choices . . . after thorough investigation of

law and facts.” Strickland, 466 U.S. at 690. Their “complete lack of pretrial preparation

put[] at risk both [Petitioner’s] right to an ample opportunity to meet the case of the

prosecution and the reliability of the adversarial testimony process.” Kimmelman, 477 U.S.

at 385 (internal quotation marks omitted). The Court agrees with the Supplemental R. and

R. that the performance of Petitioner’s defense counsel was deficient for the reasons

outlined above.

               2. Whether Petitioner’s Counsel’s Deficient Performance Was Prejudicial

         The Court previously found that Petitioner “ha[s] made a . . . showing of the

probability of actual innocence sufficient to permit her case to overcome the limitations

bar.” Order of Oct. 28, 2011, at 2-4; accord Order of May 14, 2020, at 2-3, 3 n.2; see

Suppl. R. & R. at 74-80, 83-86. The Supplemental R. & R. relied on this previous finding

in concluding that Petitioner had shown prejudice under Strickland. See Suppl. R. & R. at

72-90.

         By making this finding, the Court held that Petitioner had shown that “a

constitutional violation has probably resulted in the conviction of one who is actually

innocent” and “that it is more likely than not that no reasonable juror would have convicted

[her] in the light of the new evidence.” Schlup, 513 U.S. at 327 (internal quotation marks

omitted); see id. at 316 (“[I]f a petitioner . . . presents evidence of innocence so strong that


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a court cannot have confidence in the outcome of the trial unless the court is also satisfied

that the trial was free of nonharmless constitutional error, the petitioner should be allowed

to pass through the gateway and argue the merits of his underlying claims.”). The Supreme

Court has explained that making this showing of actual innocence requires “a stronger

showing than that needed to establish prejudice.” Id. at 327 (citing Strickland, 466 U.S. at

694); accord Demarest v. Price, 130 F.3d 922, 942 (10th Cir. 1997).

       Put differently, Petitioner already has “show[n] more than just a reasonable

probability that the factfinder would have had a reasonable doubt respecting guilt.” House

v. Bell, 547 U.S. 518, 571 (2006) (Roberts, C.J., concurring in the judgment in part and

dissenting in part) (omission and internal quotation marks omitted). “As this Court has

already found that [Petitioner] meets the more stringent Schlup test, it necessarily follows

that [she] also satisfies the prejudice test under Strickland.” Larsen v. Adams, 718 F. Supp.

2d 1201, 1224 (C.D. Cal. 2010) (citing Fisher v. Gibson, 282 F.3d 1283, 1310 (10th Cir.

2002) (declining to “limit ineffective assistance to only those claims where defendant can

demonstrate his innocence”)). “Accordingly, for substantially the same reasons, [the

Court] now hold[s] that [Petitioner] has established that, absent [her] counsel’s

unprofessional errors and omissions, a factfinder would have had a reasonable doubt

respecting [her] guilt.” Rivas v. Fischer, 780 F.3d 529, 551 (2d Cir. 2015).24 “To the extent

it is possible for a petitioner to make the Schlup actual innocence showing but nonetheless




24
  These reasons have been discussed by the Court at length. See Suppl. R. & R. at 72-80;
Proposed FFCL at 2-9, 10-28; R. & R. of Dec. 12, 2019, at 9-10, 19-21.


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fail to demonstrate prejudice under Strickland, such a possibility does not exist on the

present facts,” where the assistance of counsel that is the basis for habeas relief in Ground

One of the Second Amended Petition is intertwined with and inseparable from the

presentation of experts and evidence that established Petitioner’s claim of actual innocence.

Larsen, 718 F. Supp. 2d at 1225.

       Respondent concedes the relative status of the standards but argues that the

magistrate judge nonetheless erred in finding Petitioner had satisfied Strickland’s prejudice

prong. Respondent claims that Judge Purcell, in rejecting Respondent’s arguments as to

the lack of credibility of Petitioner’s habeas experts, improperly placed the burden upon

Respondent to disprove prejudice under Strickland rather than requiring Petitioner to prove

such prejudice. See Resp’t’s Obj. at 114-19. Relatedly, Respondent argues that the

Supplemental R. & R. overlooked or ignored credibility and corroboration issues with

Petitioner and her witnesses and that these issues defeat the conclusion “that Petitioner has

shown a reasonable probability of a different outcome at trial.” Id. at 106-14.

       The evidence Respondent cites in support of these objections already was before the

Court in connection with either its October 2011 determination of actual innocence, or its

May 2020 determination of actual innocence, or both. Respondent did not seek relief from

those Orders and does not here present an adequate basis for the actual-innocence

determination to be revisited. Cf. Fed. R. Civ. P. 7(b)(1) (“A request for a court order must

be made by motion.”); id. R. 60(b) (prescribing that “[o]n motion and just terms” a court

may relieve a party from an order). Accordingly, the Court overrules these objections and

concludes that Petitioner has met her burden to establish prejudice on Ground One under


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Strickland. See Schlup, 513 U.S. at 327; Rivas, 780 F.3d at 550-51; Larsen, 718 F. Supp.

2d at 1224-25.

              3. Harmless-Error Review

       To be entitled to federal habeas corpus relief, a petitioner generally must show that

the constitutional error “had substantial and injurious effect or influence in determining the

jury’s verdict.” Brecht v. Abrahamson, 507 U.S. 619, 623 (1993) (internal quotation marks

omitted); accord Byrd v. Workman, 645 F.3d 1159, 1167 n.9 (10th Cir. 2011). The Tenth

Circuit has explained, however, that applying this harmless-error test “is a needless

formality in the context of a Strickland claim, which itself demands a showing that the

alleged deficiency was prejudicial.” Byrd, 645 F.3d at 1167 n.9 (citing cases); see also

Hall v. Vasbinder, 563 F.3d 222, 236 (6th Cir. 2009) (“The prejudice prong of the

ineffective assistance analysis subsumes the Brecht harmless-error review.”).

                                      CONCLUSION

       The Court recognizes that Petitioner was not entitled to “perfect representation”

from her defense counsel. Harrington v. Richter, 562 U.S. 86, 110 (2011). But “[a]n

accused is entitled to be assisted by an attorney, whether retained or appointed, who plays

the role necessary to ensure that the trial is fair.” Strickland, 466 U.S. at 685. Having

reviewed the relevant record and authorities, the Court concludes that Petitioner’s counsel

did not fulfill that role and that Petitioner was therefore deprived of her Sixth Amendment

right to the effective assistance of trial counsel. Consistent with this conclusion, the Court

determines that “law and justice require” that Petitioner be afforded a new trial. 28 U.S.C.




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§ 2243; see United States v. Bergman, 746 F.3d 1128, 1134 (10th Cir. 2014) (“[T]he

presumptively appropriate remedy for an effective assistance violation is a new trial[.]”).

       For the foregoing reasons, the Supplemental Report and Recommendation (Doc.

No. 261) is ADOPTED as modified. The Second Amended Petition for Writ of Habeas

Corpus (Doc. No. 226) is CONDITIONALLY GRANTED as to Ground One as follows:

       The State of Oklahoma may commence proceedings for a new trial on the

underlying charge within 90 days of the entry of this Order. Failure to commence such

proceedings within 90 days shall result in this Court ordering Petitioner Beverly Michelle

Moore’s permanent discharge and release from all restraints and custody of the State of

Oklahoma on the conviction at issue.25

       IT IS FURTHER ORDERED that Petitioner’s Request for Status Conference (Doc.

No. 268) is DENIED AS MOOT.

       IT IS SO ORDERED this 11th day of September, 2023.




25
   Petitioner’s remaining habeas claims (Grounds Two through Five) are moot in light of
this entitlement to relief and are hereby dismissed without prejudice.


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